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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                            CASE NO. 3:19cr104/MCR

DAVID C. WILLIAMS
_______________________________/


              PRELIMINARY ORDER OF FORFEITURE

      WHEREAS, in the indictment in the above-entitled action, the United

States sought forfeiture of all property of the defendant, DAVID C.

WILLIAMS, pursuant to Title 18, United States Code, Sections 981, 982,

and 2428; as well as Title 8, United States Code, Section 1324; Title 21,

United States Code, Section 853; and Title 28, United States Code, Section

2461, as property constituting, or derived from, proceeds obtained directly or

indirectly from the violations set forth in said indictment and/or property used

or intended to be used to commit or promote the commission of the offenses

set forth in Counts One through Four of said indictment, to wit: that the

defendant did Use an Interstate Facility for Purposes of Racketeering

Enterprises, Transport for Purposes of Prostitution, Conceal and Harbor

Aliens for Financial Gain, and Conspire to Commit Money Laundering;
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      AND WHEREAS, on or about November 14, 2019, the defendant pled

guilty to the violations set forth in Counts One through Four of the indictment,

and has now consented to forfeiture with regard to the defendant’s interest in

the specifically below noted property;

      AND WHEREAS, by virtue of said guilty plea and concession of

forfeiture, the United States is now entitled to possession of said property,

pursuant to Title 18, United States Code, Sections 981, 982, and 2428; as well

as Title 8, United States Code, Section 1324; Title 21, United States Code,

Section 853; and Title 28, United States Code, Section 2461 and Rule 32.2(b)

of the Federal Rules of Criminal Procedure; now wherefore,

      IT IS HEREBY ORDERED:

      1.      That all of defendant’s right and interest in the property described

below is hereby forfeited to and vested in the United States of America.

      2.      That the property which is subject to forfeiture in this Order is

as follows:

      1.      U.S. currency totaling $17,708 and money orders totaling
              $18,000 seized on or about August 15, 2019, from 126 Shell
              Avenue in Fort Walton Beach, Florida;
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 2.    U.S. currency totaling $15,000 seized on or about August 15,
       2019, from 704 Massachusetts Avenue in Pensacola,
       Florida;

 3.    U.S. currency totaling $25,960 seized on or about August 15,
       2019, from 7055 Fairfield Drive in Pensacola, Florida;

 4.    U.S. currency totaling $15,906 and money orders totaling
       $8,900 seized on or about August 15, 2019, from 211 SW 4th
       Avenue in Gainesville, Florida;

 5.    U.S. currency totaling $6,351 seized on or about August 15,
       2019, from 696 Warrenton Avenue in Fredericksburg,
       Virginia;

 6.    U.S. currency totaling $557.17 seized on or about August 15,
       2019, from Bank of America account ending in 0716;

 7.    U.S. currency totaling $2,122.40 seized on or about August
       15, 2019, from Bank of America account ending in 8882;

 8.    U.S. currency totaling $5,470.84 seized on or about August
       15, 2019, from Bank of America account ending in 2593;

 9.    U.S. currency totaling $5,670.68 seized on or about August
       15, 2019, from Bank of America account ending in 9158;

 10.   U.S. currency totaling $2,363.29 seized on or about August
       15, 2019, from Bank of America account ending in 0616;

 11.   U.S. currency totaling $6,550.18 seized on or about August
       15, 2019, from Bank of America account ending in 8477;
       and
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      12.   U.S. currency totaling $4,366.41 seized on or about August
            15, 2019, from Bank of America account ending in 4461.

      3.    That an Order of preliminary forfeiture is hereby entered in favor

of the United States against defendant DAVID C. WILLIAMS pursuant to

Rule 32.2(b) of the Federal Rules of Criminal Procedure.

      IT IS SO ORDERED this 19th day of November 2019.



                                s/  M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
